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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


    Roadget Business Pte. Ltd.,             )
                                            )
                Plaintiff,                  )
                                            )
                                            )
         v.                                 )     No. 24 C 115
                                            )
                                            )
    The Individuals, Corporations,          )
    Limited Liability Companies,            )
    Partnerships, and                       )
    Unincorporated Associations             )
    Identified on Schedule A                )
    Hereto,                                 )
                                            )
                Defendants.                 )


                                        Order

        Plaintiff sues multiple entities, identified on “Schedule A”

attached        to   the   complaint,   for      copyright     infringement.    Like

hundreds of other such cases brought in this district, in this

case plaintiff sought an ex parte temporary restraining order

(“TRO”) and asset freeze, which I granted on January 17, 2024.

        Certain defendants1 have now appeared through counsel and move

to dissolve or modify the TRO and asset freeze, arguing first that

the     asset    freeze    is   overbroad       because   it   extends   to   assets




1 Specifically, this motion is brought by defendant numbers 1 (S H
Baby), 6 (Free Loop), 7 (Be kind), 8 (Livi), 9 (Mi Fashion), 11
(Yeonhee women clothing), 13 (SYLP PLUS), 14 (SYLP), 16 (Dchen),
17 (Huang Kangwei).
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unrelated to the alleged infringement. It is true that district

courts are generally without authority to restrain assets prior to

judgment where a plaintiff seeks a money judgment. See Grupo

Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308,

331–33 (1999). But an exception to that rule exists where, as here,

a plaintiff seeks an equitable remedy, such as disgorgement of

profits. See Banister v. Firestone, No. 17 C 8940, 2018 WL 4224444,

at *9 (N.D. Ill. Sept. 5, 2018) (“[T]he Court can permissibly

freeze      assets    to   protect       a    plaintiff’s      equitable   remedies.”

(citations omitted)). In those circumstances, “the appropriate

scope of prejudgment restraint must be limited only to what is

reasonably necessary to secure the (future) equitable relief.”

Deckers      Outdoor       Corp.    v.       P’ships     &    Unincorporated   Ass’ns

Identified on Schedule A, No. 13 C 07621, 2013 WL 12314399, at *2

(N.D. Ill. Oct. 31, 2013). Thus, “if the amount of the profits is

known, then the asset freeze should apply only to that specific

amount, and no more.” Id.

        None of this is disputed, but the parties disagree over

whether a modification of the asset freeze is warranted at this

time. “To exempt assets from an asset freeze, ‘[t]he burden is on

the     party    seeking     relief      to    present       documentary   proof   that

particular       assets     [are]     not     the   proceeds      of   counterfeiting

activities.’” Monster Energy Co. v. Wensheng, 136 F. Supp. 3d 897,

910 (N.D. Ill. 2015) (quoting Luxottica USA LLC v. P’ships &

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Unincorporated Ass’ns Identified on Schedule “A”, No. 14 c 9061,

2015   WL    3818622,   at   *5   (N.D.       Ill.   June   18,   2015)).   One   of

defendants’ attorneys states in a declaration submitted with their

motion that third-party Temu (the platform on which defendants

sold the allegedly infringing products) produced a spreadsheet

identifying (1) the total amount of assets frozen on the Temu

platform, and (2) the dollar amount of sales from the accused

products on the platform. See Chen Decl. ¶ 2, ECF 31-1; see also

Exh. A, ECF 31-2 (copy of spreadsheet from Temu). Defendants also

attach to their motion declarations given by representatives of

the merchants that provide, among other information, the estimated

costs associated with selling the accused products. Putting this

information together, defendants argue, allows one to calculate

the profits related to each accused product by subtracting the

estimated cost identified by the merchant from the total revenue

identified by Temu. And it is only to those profits that the asset

freeze should apply.

       The   revenue    figures   from    Temu,      produced     in   response   to

plaintiff’s request have as one indicator of reliability the fact

that they were produced by a third party. They are rendered less

reliable, however, by the lack of explanation about how the figures

contained in the spreadsheet were determined. But even assuming

those figures are sufficiently reliable, the cost figures given by

defendants’ representatives are decidedly not.

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        To take one example, the representative for “SYLP PLUS” and

“SYLP” gives in a declaration “[t]he estimated total cost of

selling the Accused Products . . . including the cost of goods and

materials, direct labor costs related to the Accused Products, and

the     Enterprise’s       reasonable    share     of   general     administrative

expenses.” Sheng Decl. ¶ 10, ECF 31-8. (The other declarations

read the same, other than the number provided.) Critically, there

is    no     documentary    evidence     provided     to   back   up   any   of     the

components of the total cost. Sworn affidavits attesting to these

amounts are worth something, but they are insufficient on their

own to satisfy defendants’ burden of “present[ing] documentary

proof      that    particular      assets     [are]     not   the      proceeds      of

counterfeiting activities.” Monster Energy, 136 F. Supp. 3d at 910

(citation and internal quotation marks omitted). Without reliable

information about the cost of selling the accused products, it is

impossible to arrive at a reliable profit figure. See Antsy Labs,

LLC     v.     Individuals,     Corps.      Ltd.    Liab.     Cos.,    P’ships,       &

Unincorporated Ass’ns Identified on Schedule A Hereto, No. 21 C

3289, 2022 WL 17176498, at *4–5 (N.D. Ill. Nov. 23, 2022) (denying

similar motion where defendants’ submitted declarations were not

sufficiently reliable evidence of profits).

        Defendants’ motion also seeks to dissolve the TRO altogether,

arguing for several reasons that plaintiff has not met the standard



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for a TRO.2 First, defendants argue plaintiff’s request for email

service of process was improper. However, they fail to explain how

the issue of email service ties into the appropriateness of an ex

parte TRO, so I decline to entertain that argument at this stage.

      Defendants next argue that plaintiff has failed to show a

likelihood of success as to several asserted copyrights because

those copyrights are not “original.” Even assuming the relevant

works are derivative, and that plaintiff must show “sufficient

nontrivial expressive variation in the derivative work to make it

distinguishable from the underlying work in some meaningful way,”

Schrock v. Learning Curve Int’l, Inc., 586 F.3d 513, 521 (7th Cir.

2009), I am satisfied at this early stage that plaintiff has a

likelihood of doing so. There are sufficient differences between

plaintiff’s     claimed    works,    on   the   one   hand,   and   defendants’

proffered preexisting images, on the other, to conclude that

plaintiff has established a likelihood of success on the issue of

originality.

      Plaintiff has also shown a likelihood of irreparable harm

absent a TRO. Defendants--business entities whose names differ

from the ones appearing on their online storefronts--could easily

transfer assets out of plaintiff’s reach in the absence of a TRO




2 Defendants also argued that plaintiff has failed to establish
personal jurisdiction, but submit to the exercise of personal
jurisdiction in their reply brief.
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and asset freeze. For example, one defendant’s storefront alias is

“S H Baby,” but it is operated by a company called “Foshan Qiqiao

Childhood Clothing Co., Ltd.” Mingzhu Decl. ¶ 3, ECF 31-9. The

concern that entities residing in foreign jurisdictions might

transfer assets to avoid a money judgment is a common justification

for granting ex parte TROs in Schedule A cases in this district.

See, e.g., Peng v. P’ships & Unincorporated Ass’ns Identified on

Schedule A, No. 21-cv-1344, 2021 WL 4169564, at *3 (N.D. Ill. Sept.

14, 2021). Defendants have not assuaged those concerns in this

case.

        Accordingly, defendants’ motion is denied.




                                     ENTER ORDER:



                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge

Dated: March 6, 2024




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